 Case 2:23-cv-07952-RGK-MAR Document 39-1 Filed 12/01/23 Page 1 of 2 Page ID #:195




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 8                             UNITED STATES DISTRICT COURT
 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
10                                   WESTERN DIVISION
11 JENI PEARSONS, et al.,                           No. CV 23-07952-RGK-MAR
12               Plaintiffs,                        [PROPOSED] ORDER APPROVING
                                                    STIPULATION TO ALLOW
13                      v.                          PLAINTIFFS TO USE MATERIAL
                                                    DESIGNATED AS CONFIDENTIAL IN
14 UNITED STATES OF AMERICA, et                     RELATED CASE
   al.,
15                                                  [Discovery Matter]
            Defendants.
16                                                  Honorable R. Gary Klausner
                                                    United States District Judge
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                                                    Honorable Margo A. Rocconi
18                                                  United States Magistrate Judge
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20         Upon good cause being shown as set forth in Stipulation to Allow Plaintiffs to Use
21   Material Designated as Confidential in Related Case (“Stipulation”) entered into
22   between Jeni Pearsons and Michael Storc (“Plaintiffs”) and the United States of
23   America, the Court hereby approves the Stipulation.
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 1         IT IS HEREBY ORDERED that the Section 7.1 of the Protective Order entered in
 2   Snitko v. United States, cv 21-04405-RGK-MAR (“Snitko”) on April 8, 2022 at Dkt. 92
 3   is modified for the sole purpose of permitting the use of Protected Material from Snitko
 4   to be used by Plaintiffs’ counsel in Jeni Pearsons, et al. v. United States of America, et
 5   al., CV 23-07952-RGK-MAR (“Pearsons”) and Donald Leo Mellein v. United States of
 6   America, et al., CV 23-07970-RGK-MAR (“Mellein”) for the sole purpose of amending
 7   the complaints in Pearsons and Mellein to add the names of the individual DOE
 8   defendants who searched Box 224 and Box 4301.
 9         All other provisions of the Protective Order in Snitko remain in effect. Nothing in
10   this Stipulation constitutes a waiver or withdrawal of the of the requirements of
11   Paragraph 4 or Paragraph 6.3 of the Snitko Protective Order.
12         IT IS SO ORDERED.
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14   Dated: __________________                   ____________________________________
15                                               THE HONORABLE MARGO A. ROCCONI
                                                 United States Magistrate Judge
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